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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                              Crim. No. 10-339 (PJS/JJK)

                    Plaintiff,

v.
                                            REPORT AND RECOMMENDATION
(4) Gabriel Damas Martinez,

                    Defendant.


Jeffrey S. Paulsen, Esq., Assistant United States Attorney, counsel for Plaintiff.

F. Clayton Tyler, Esq., F. Clayton Tyler, PA, counsel for Defendant Martinez.


JEFFREY J. KEYES, United States Magistrate Judge

        This matter is before the Court on Defendant’s Motion to Suppress

Evidence Obtained as a Result of Search and Seizure (Doc. No. 120), and

Defendant’s Motion to Suppress Statements (Doc. No. 127). This Court held a

hearing on the motions on February 25, 2011, and received testimony from

Officer William Cytreszewski. The matter was referred to the undersigned for

Report and Recommendation pursuant to 28 U.S.C. § 636 and D. Minn. Loc. R.

72.1.

        For the reasons stated below, this Court recommends that Defendant’s

motion to suppress evidence be denied, and Defendant’s motion to suppress

statements be granted, as further stated herein.
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                                 BACKGROUND

        On November 28, 2010, Defendant was pulled over by Officer William

Cytreszewski of the Eagan police department based on a seatbelt violation.

During the stop, the Officer smelled the odor of burnt marijuana emanating from

Defendant’s car. Officer Cytreszewski then asked Defendant when he last

smoked marijuana. Defendant admitted to smoking marijuana a few minutes

before in the car, and handed a small bag of marijuana to the Officer. Officer

Cytreszewski testified that based on this information, he believed that

Defendant’s car would contain more drugs. Defendant was asked to step out of

the car, which he did. Officer Cytreszewski proceeded to search Defendant’s

vehicle and found, among other things, a plastic bag containing suspected

methamphetamine. Defendant was then arrested, handcuffed and placed in the

back of the squad car. At some point after Defendant was arrested, Officer

Cytreszweski asked Defendant, “What’s inside the bag?” Defendant apparently

denied any knowledge of the methamphetamine. (Doc. No. 134, Gov’t. Resp. 6.)

Testing established that the bag contained one pound of methamphetamine.

(Id.)

        Based on the above, Defendant was subsequently indicted on one count of

conspiracy to distribute methamphetamine, cocaine, and marijuana, in violation

of 21 U.S.C. §§ 846 and 841(b)(1)(A), and one count of possession with intent to

distribute methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and

841(b)(1)(A). (Doc. No. 62.)

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I.    Defendant Motion to Suppress Evidence Obtained as a Result of
      Search and Seizure

      Defendant argues that the Government lacked probable cause to search

his car without a warrant, and that the evidence subsequently obtained from the

car should therefore be suppressed. This Court disagrees.

      “[A]ny traffic violation, even a minor one, gives an officer probable cause to

stop the violator. [In such a case,] the stop is objectively reasonable and any

ulterior motivation on the officer’s part is irrelevant.” Johnson v. Crooks, 326

F.3d 995, 998 (8th Cir. 2003) (alteration in original) (quotations omitted); United

States v. Walker, 555 F.3d 716, 720 (8th Cir. 2009) (“[A]ny traffic violation

provides probable cause for a traffic stop.”). And “[p]olice may search a car

without a warrant if they have probable cause to believe that the car contains

contraband or evidence.” U.S. v. Jennings, No. 06-4109, 2007 WL 2142260, *1

(8th Cir. Jul. 27, 2007) (quoting U.S. v. Neumann, 183 F.3d 753, 755 (8th Cir.

1999)). “The law of this circuit dictates that the odor of burnt marijuana gives an

officer probable cause to search a person’s vehicle for drugs.” Id; United States

v. Davis, 569 F.3d 813, 817 (8th Cir. 2009); U.S. v. Peltier, 217 F.3d 608, 610

(8th Cir. 2000); U.S. v. McCoy, 200 F.3d 582, 584 (8th Cir. 2000); U.S. v. Caves,

890 F.2d 87, 90-91 (8th Cir. 1989).




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       Here, Defendant’s seatbelt violation provided probable cause for the initial

traffic stop. And the evidence gathered during the initial traffic stop gave the

Officers probable cause to search Defendant’s car for drugs.

       Just last week, the Eighth Circuit upheld a warrantless search of a vehicle

under the automobile exception under circumstances virtually identical to those

present here. See U.S. v. Brown, ----F.3d---, No. 10-1237, 2011 WL 798842, *3

(8th Cir. Mar. 9, 2011). There, after seeing a car with activated emergency

flashers parked on the shoulder of the road, the officer decided to check whether

that car’s occupants needed assistance. Id. at *1. So he left his patrol car and

approached the driver’s side of the car to speak with the driver. Id. When the

driver lowered the driver’s side window, the officer smelled the distinct odor of

burnt marijuana. Id. The officer asked whether the vehicle occupants needed

assistance. Id. One of the passengers explained that they were waiting for a

friend to arrive with a can of oil. Id. The officer then asked “Who’s smoking the

weed?” Id. One of the passengers admitted smoking marijuana. Id. Relying on

Davis, 569 F.3d 813 at 817, and Neumann, 183 F.3d at 756, the Court

determined that:

       Here, Deputies Starner and Caudill each smelled the distinct odor of
       burnt marijuana emanating from the vehicle. When asked about the
       odor, Anderson admitted smoking marijuana. Considering these
       circumstances, there was a reasonable probability marijuana was
       located inside the vehicle and the officers had probable cause to
       search the entire vehicle for illegal drugs.

Id. at *3.


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      The same holds true here. If anything, the evidence underlying the

probable cause in this case is even more compelling than that in Brown. Here, in

addition to the burnt marijuana odor and Defendant’s admission of smoking

marijuana a few minutes earlier in the car, Defendant voluntarily gave Officer

Cytreszewski a bag with marijuana after the Officer inquired about marijuana and

before the search. Thus, this Court concludes that the search of Defendant’s car

was lawfully performed under the automobile exception to the warrant

requirement and the evidence seized as a result of the execution of the search

warrant need not be suppressed.

II.   Defendant’s Motion to Suppress Statements

      Defendant also seeks to suppress any statements in response to the

officers’ post-arrest questions that were not preceded by a Miranda warning.

(Doc. No. 128, Def’s Mem. 1.) In its written submissions and at the motions

hearing, the Government represented that it does not intend to use Defendant’s

post-arrest statements in its case-in-chief but reserves the right to use them for

impeachment or rebuttal purposes. (Doc. No. 133, Gov’t. Resp. 6.) In the

interest of completeness, this Court addresses the merits of the suppression

motion nonetheless.

      Officer Cytreszewski testified that after Defendant was arrested,

handcuffed, and placed in the back of the squad car, he was asked about the

bag of methamphetamine, “what’s inside the bag”? The officer testified that the



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question was not preceded by a Miranda warning. According to the

Government, Defendant denied any knowledge about methamphetamine. (Id.)

      Miranda warnings must precede any custodial interrogation. Miranda v.

Arizona, 384 U.S. 436, 461 (1966). Miranda requirements arise only when a

defendant is both in custody and interrogated. United States v. Head, 407 F.3d

925, 928 (8th Cir. 2005). Here, Defendant was in custody when the statements

were made, Officer Cytreszewski’s question was a form of interrogation, and

Defendant had not yet been given his Miranda warnings. See United States v.

Broines, 390 F.3d 610, 612 (8th Cir. 2004). Accordingly, these statements

should be suppressed.


                             RECOMMENDATION

      IT IS HEREBY RECOMMENDED that:

      1.    Defendant’s Motion to Suppress Evidence Obtained as a Result of

Search and Seizure (Doc. No. 120), be DENIED; and

      2.    Defendant’s Motion to Suppress Statements (Doc. No. 127), be

GRANTED to the extent it seeks suppression of Defendant’s post-arrest

statements in response to questions that were not preceded by a Miranda

warning.

Date: March 17, 2011

                                            s/Jeffrey J. Keyes
                                           JEFFREY J. KEYES
                                           United States Magistrate Judge


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Under D. Minn. LR 72.2(b), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and serving all parties by
March 31, 2011, a writing which specifically identifies those portions of this
Report to which objections are made and the basis of those objections. Failure
to comply with this procedure may operate as a forfeiture of the objecting party’s
right to seek review in the Court of Appeals. A party may respond to the
objecting party’s brief within fourteen after service thereof. All briefs filed under
this rule shall be limited to 3500 words. A judge shall make a de novo
determination of those portions of the Report to which objection is made. This
Report and Recommendation does not constitute an order or judgment of the
District Court, and it is therefore not appealable directly to the Circuit Court of
Appeals.




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